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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2018 OK 44Case Number: SCBD-6659Decided: 06/04/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 44, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2018 DUES




ORDER OF SUSPENSION FOR NONPAYMENT OF DUES


On May 22, 2018, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2018 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on April 13, 2018, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2018. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2018 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 4TH DAY OF JUNE, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.





EXHIBIT A
(DUES - SUSPENSION)


Marc S. Albert, OBA NO. 32287
14 Brook Lane
Brookville, NY 11545

Daniel Allen Arnett, OBA NO. 30359
421 Nantucket Blvd.
Norman, OK 73071

Joseph Bradley Ayo, OBA NO. 31458
1841 Portsmouth St.
Houston, TX 77098

Ronald Eugene Berry, OBA NO. 759
P.O. Box 490
Catoosa, OK 74015

Marcus James Bivines, OBA NO. 21604
643 Providence Pl. S.W.
Atlanta, GA 30331

Justin Michael Blumer, OBA NO. 32157
P.O. Box 2006
Mannford, OK 74044

Ryan Kenneth Canady, OBA NO. 16913
417 Merkle Dr.
Norman, OK 73069

Charlotte Linn Claborn, OBA NO. 21139
P.O. Box 13
Stonewall, OK 74871-0013

Sarai Cook, OBA NO. 31374
413 W. Britton Rd., Apt. 316
Oklahoma City, OK 73114-3550

Spencer Marshall Coons, OBA NO. 31520
7975 N. Hayden Road, Suite D-280
Scottsdale, AZ 85258

Mark Robert Daniel, OBA NO. 11075
Merck &amp; Co. Inc.
P.O. Box 2000, Ry 60-30
Rahway, NJ 07065

James M. Demopolos, OBA NO. 2291
10802 Quail Plaza Dr., #205
Oklahoma City, OK 73120-3119

Brian Lane Dickson, OBA NO. 2354
P.O. Box 31593
Edmond, OK 73003-0027

Tai Chan Du, OBA NO. 30784
3324 North Classen Boulevard
Oklahoma City, OK 73118

Shanita Danielle Gaines, OBA NO. 30796
200 W. 15th Street, Apt. 81
Edmond, OK 73013

Joyce Ann Good, OBA NO. 14722
1705 Smoking Tree Road
Moore, OK 73160-5725

John Thomas Green, OBA NO. 32944
1101 7th St.
Pawnee, OK 74058-4049

James Michael Grier, OBA NO. 20916
420 Nichols Rd., # 200
Kansas City, MO 64112-2005

David Levi Hanes, OBA NO. 22580
2853 Ridge Drive
Broomfield, CO 80020

Michael G. Harris, OBA NO. 3903
9401 Forest Hollow Crt.
Oklahoma City, OK 73151

Susan Margaret Hinck, OBA NO. 16761
5073 KingsWood Dr., N.E.
Roswell, GA 30075

Jacob Russell Lee Howell, OBA NO. 30874
P.O. Box 767
Van Buren, AR 72957-0767

Mark Kelly Hunt, OBA NO. 32019
1408 S. Denver Ave.
Tulsa, OK 74119

Deborah E. Keele, OBA NO. 16906
3006 W. Willowbrook Dr.
Enid, OK 73703-3846

Bryan Lynn Kingery, OBA NO. 15507
P.O. Box 398
Ada, OK 74821-0398

M. Carol Layman, OBA NO. 12130
17307 Oak Hollow Way
Spring, TX 77379

Neilson David Lea, OBA NO. 31621
305a Prospect St.
Cuba, MO 65453

Michelle Lee Lester, OBA NO. 18582
2317 South Jackson Ave., Rm. 326-S
Tulsa, OK 74107

Trisha M. Levine, OBA NO. 17403
350 W. Swan Circle, Apt. 3401
Oak Creek, WI 53154-8320

Edward Anderson Logan, OBA NO. 5495
908 N.W. 14th St.
Oklahoma City, OK 73106

John Ogelsby Long III, OBA NO. 11131
9730 S. Park Cir.
Fairfax Station, VA 22039-2939

Johnny W. Long, OBA NO. 5509
114 S. Irving Blvd.
Los Angeles, CA 90004-3841

Scott Ford McKinney, OBA NO. 16692
12216 Banyan Lane
Oklahoma City, OK 73162

James Lloyd Menzer, OBA NO. 12406
211 W. Blackwell Ave.
P.O. Box 818
Blackwell, OK 74631-0818

April Beeman Metwalli, OBA NO. 19351
3209 Rolling Rd.
Chevy Chase, MD 20815

Anthony George Mitchell, OBA NO. 14004
207 S. Park
Hobart, OK 73651

Jay Patrick Moisant, OBA NO. 19682
14453 S.E. 29th St., Suite B
Choctaw, OK 73020

Jason K. Moore, OBA NO. 30652
205 Ridge Lake Blvd.
Norman, OK 73071

Jessica C. Ridenour, OBA NO. 20758
401 S. Boston Ave., Suite 2150
Tulsa, OK 74103-4009

Jeff Michael Roberts, OBA NO. 22287
6700 W. Memorial Rd., Apt. 313
Oklahoma City, OK 73142

Timothy William Schneidau, OBA NO. 30246
2448 E. 81st St., Suite 5606
Tulsa, OK 74137

Conly J. Schulte, OBA NO. 31318
1900 Plaza Drive
Louisville, CO 80027

Donald Dale Stemple, OBA NO. 21832
112 S.W. 8th Ave., Ste. 700
Amarillo, TX 79101-2330

Amber Ann Sweet, OBA NO. 31725
10535 E. 156th St., N.
Collinsville, OK 74021

Sherry Abbott Todd, OBA NO. 13389
821 N. Mississippi
Ada, OK 74821

Wes Eugene Wadle, OBA NO. 20006
Conduent, Inc.
2828 North Haskell Ave., 9th Floor
Dallas, TX 75204

Joshua Allen Walker, OBA NO. 30936
16373 Scotland Way
Edmond, OK 73013

Kimberly S. Edwards Welty, OBA NO. 2643
11007 Caloden St.
Oakland, CA 94605-5548

Demetria Nicole Williams, OBA NO. 20942
P.O. Box 5894
Albany, GA 31706

Trey Adolph Wirz III, OBA NO. 18496
8207 Misty Landing Court
Humble, TX 77396

Robert D. Wittenauer, OBA NO. 9808
9329 Battle Street
Manassas, VA 20110

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